Case 3:07-cr-30136-DRH-PMF       Document 197        Filed 11/20/08     Page 1 of 1   Page
                                      ID #435



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

STEVEN EARL ERWIN,                                     No. 07-cr-30136-DRH

Defendant.

                                        ORDER

HERNDON, Chief Judge:

      The Government has brought to the Court’s attention that the plea agreement

mistakenly put Defendant Erwin on notice that he was subject to a five year

mandatory minimum sentence rather than the correct ten year mandatory minimum

sentence.    Consequently, the Court did not advise Defendant Erwin correctly,

according to Federal Rule Criminal Procedure 11, of the mandatory minimum

sentence of ten years, to which he is subject, at the time of his guilty plea. Therefore,

the Court will allow Defendant Erwin to withdraw his guilty plea if he so desires

prior to his sentencing.

             IT IS SO ORDERED.

             Signed this 20th day of November, 2008.

                                               /s/      DavidRHer|do|
                                               Chief Judge
                                               United States District Court
